       Case 14-35352-hdh13 Doc 113 Filed 09/12/18                    Entered 09/12/18 13:13:57               Page 1 of 2




 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed September 12, 2018
                                              United States Bankruptcy Judge
    ______________________________________________________________________




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION

 In Re: GERALD WAYNE KOSSIE                                                         Case # 14-35352-HDH-13
                                                                                    Chapter 13

                                                                                    JUDGE HARLIN D. HALE
  Debtor



       ORDER FINDING, DEEMING AND DETERMINING MORTGAGE TO BE CURRENT, OR
                DELINQUENT IN THE AMOUNT SET FORTH IN TRUSTEE'S
                 "NOTICE OF AMOUNT DEEMED NECESSARY TO CURE"
    Pursuant to Local Bankruptcy Rule 3002-2(b), the Chapter 13 Trustee filed and served his "Notice of Amount Deemed
Necessary to Cure" ("Notice") (Docket# 104 ), on the below named mortgage creditor. Such Notice contained negative
notice language as authorized by Local Bankruptcy Rule 9007-1, informing the mortgage creditor of their obligation to file
and serve a Response within 60 days, or else the information contained in the Notice would be deemed unopposed and/or
undisputed.

    The Mortgage Creditor:
        - Filed a timely Response, indicating it did not dispute the information in the Trustee 's Notice.


    The Debtor:
        - Did not file a Reply and is wholly defaulted.
      Case 14-35352-hdh13 Doc 113 Filed 09/12/18                  Entered 09/12/18 13:13:57          Page 2 of 2


     THEREFORE, IT IS ORDERED that as of 05/11/2018, the principal amount due on any pre-petition and/or
post-petition home mortgage arrearage claim by the below named mortgage creditor to be paid by the Trustee is as
follows:
MORTGAGE CREDITOR/HOLDER          PRE/POST                                  COURT CLAIM #   TRUSTEE CLAIM #       AMOUNT

US BANK TRUST NA                  PRE-PETITION MORTGAGE ARREARAGE                 4                 30              $0.00
US BANK TRUST NA                  POST-PETITION MORTGAGE ARREARAGE                4                 39              $0.00


    IT IS FURTHER ORDERED that except as otherwise provided hereinabove, the HOME MORTGAGE REGULAR
MONTHLY PAYMENT on the mortgage held by US BANK TRUST NA, which is not being paid by the Chapter 13 Trustee
is CURRENT as of 05/21/2018.

     IT IS FURTHER ORDERED that the above named creditor shall be precluded from asserting any other pre -petition
(cure) amounts or post-petition arrearages that allegedly accrued before the date of the Notice, 05/11/2018, in any
Contested Matter or Adversary Proceeding in this case, or in any other manner, matter, or forum after a discharge in this
case, unless the Court determines, after notice and a hearing that the failure to timely file a Response was substantially
justified or is harmless.

   IT IS FURTHER ORDERED that as of Date of Notice the DEBTOR (S) PLAN PAYMENT DELINQUENCY WAS
$886.97.

                                                 ### End of Order ###


Approved by:

      /s/ Tom Powers
      Standing Chapter 13 Trustee
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